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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                                  AT LEXINGTON
                          CIVIL CASE NO. 5:18-CV-210-JMH

  UNITED STATES OF AMERICA                                                       PLAINTIFF


  V.


  UNKNOWN SPOUSE OF ANGELIA                                                      DEFENDANTS
  COOK, et al.

                     MOTION FOR WARNING ORDER REPORT

                                      * * * * * * *

        Comes the Warning Order Attorney, Hon. Dan Carman, and respectfully requests

 this Court enter an Order authorizing payment for of his attorney fees and expenses in

 performing his duties as Warning Order Attorney in this matter. In support of this Motion,

 undersigned counsel attaches the Warning Order report and Affidavit detailing efforts, as

 well as expenses incurred.



                                                Respectfully submitted,

                                        BY:      /s/ Dan Carman
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                                                Warning Order Attorney



                               CERTIFICATE OF SERVICE

        On October 5, 2018, I electronically filed the foregoing through the CM/ECF

 system, which will send notice of electronic filing to all counsel of record.

                                                 /s/ Dan Carman
                                                Dan Carman
                                                Warning Order Attorney
